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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

V. CAUSE NO. 1:18-mj-OO192

DANIEL MORRIS DOYLE,

VVV`_/V`./WWW

Defendant.
PENALTY SHEET

You have been Charged in a Complaint With a violation of the Laws of the
United States of America. The maximum penalties are as follows:

 

Count Supervised Other
Number(s) Statute Years Fine Release Conditions
Title 18 U.S.C.
1 § 2252(21)(2), and 15-40 Up to Lifetime
(b)(l), and (b)(Z) $250,000
Knowingly distribute
Child Pornography
2 Title 18 U.S.C. § Up to
2252(a)(4)(B) and 10-20 $250,000 Lifetime
(b)(l)and(?)
Knowingly possess
Child Pornography
Dated:

 

Daniel Morris Doyle,
Defendant

I certify that the Defendant Was advised of the maximum penalties in the
manner set forth above and that he signed (or refused to sign) the
acknowledgement

 

United States Magistrate Judge
Southern District of Indiana

